                            IN THE CRIMINAL COURT
                        FOR DAVIDSON COUNTY, TENNESSEE
                                 AT NASHVILLE


         STATE OF TENNESSEE,
                  Plaintiff,

         vs.                                    2017-A-444

         JENNIFER KING,
                  Defendant.




               Transcript of Excerpt of Sentencing Hearing
                   Before the Honorable Steve Dozier
                                  May 19, 2017




         Appearances:

         For the State:
         General J. Wesley King
         Assistant District Attorney General
         Nashville, Tennessee


         For the Defendant;
         Ms. Leah Wilson
         Attorney at Law
         Nashville, Tennessee




                               Shana Crawford, OCR

                           Official Court Reporter

                                   Division Z

                             Nashvs.lle, Tennessee


                  (931) 494-1191 * (615) 862-4200 X 71581




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 1| PROCEEDINGS

2

3 | (The following is an expert of requested

4 | testimony taken from the Sentencing

 5| Hearing in State of Tennessee v.

 6j Jennifer King,, case number 2017-A-444 on

7 | May 19, 2017.)

 8

 9| CROSS-EXftMINATION BY GENERAL KING: (CONTINUED)

10 I Q. You have been clean and sober while

11 I you've been in jail,. correct?

12    I   .   A.   Yes.


13 I Q. And you've said you've taken one class

14 I and you're signed up for taking a parenting class; is

15| that right?

16 I A. Yes. And they said I could continue it

17 j when I go home. I can continue i,t on the outside.

18 I Q. When are you set to get enrolled in that

19 | class in custody?

20 [ A. Like I've already started,, but I've

21 I caught a rash. You can -- I mean, it's all over my


22 | body (demonstrating) from something -- mildew or

23 j something like mold ~- not mildew, mold. And I

24 I. couldn't start it, they had me in Med-Op (phonetic).

25 I Q. Okay. So how long is -- how long is




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 1       that program?

 2                 A.    Like six weeks, I think.

 3

 4                       THE COURT:     So they won't let you back

 5       until that clears
                     clears up?

 6                       THE WITNESS:      Right. And it's tooken

 7       forever, like —


 8                       UNIDENTIFIED SPEAKER: She's had it for

 9       four months , Your    Honor.


10                       THE COURT:     Excuse me?


11                       UNIDENTIFIED SPEAKER: She's had it for

12       four months

13                       THE WITNESS:      I've had this rash for

14       four months

15                       THE COURT:     I thought you've been in —

16       yeah, I "

17                       THE WITNESS:      It's on my legs, my back,.


18       everywhere     (demonstrating).

19                       THE COURT:     Were you in the program

20       some?


21                       THE WITNESS:      A little, yeah.

22                       THE COURT:     You said you went a couple

23       of weeks?

24                       THE WITNESS:      No, in my SAVE program, I

25       did.




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 1 I THE COURT: Right.

 2 [ THE WITNESS: And they said I continue

 3 I all of them on the streets. So if I get out/ I can

          continue parenting, whatever -~


 5[ THE COURT: But are you in that now?

 6 | THE WITNESS: Yes.

 7 I THE COURT: What's the — what has this

          kept you out of going through?

                         THE WITNESS: Everything, because they

10 I are —

11 I THE COURT: You can't go to the SAVE

12 | program?

13j THE WITNESS: Right. They are like — I

14 [ started a couple of weeks and then I had to go to

15 I Med-Op and they tried to get it to heal up. So I

16 I just really need to go to the hospital, I do.

17 I • THE COURT: All right.

18 I MS. WILSON: Can I ask one follow up

19 | question?

20 j THE COURT: Uh-huh.

21

22 I REDIRECT EXAMINATION BY HS. WILSON:

23 g Q. Are they treating you for the rash?

24 j • A. They are giving me a fungal pill and

25 [ some cream to put on it, and that's about it. I've




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1 I begged them to take me to the hospital to make sure

2] and they just won't.

3

4| -MS. WILSON: That's all I have. Your

5 I Honor.


6 I THE WITNESS: Am I done?

7| THE COURT: Yeah. You can have a seat

8 | with your attorney.

9 | Yes, what else do you want to add?

10 I UNIDENTIFIED SPEAKER: I was just going

11g to say there is like 80 woman that are broke out at

12 | the facility that they are treating trying to get rid

13| of.

14 | THE COURT: Okay. We need to get an

15 j I~Team special report on them out there like they did

16 I Bellevue Middle School. They are fixing Bellevue

17 | Middle School apparently from mold.

18 I MS. WILSON: And the PD just informed me

19 | that apparently there is a scabies outbreak at the —

20 | that —

21| THE COURT: -A what outbreak?

22 I ' MS. .WILSON: Scabies; is that right?

23E MS. FATE: Allegedly Ms. Sims and one

24 | other attorney at our office have been e-mailed --

25 | not e-mailed, but contacted by a female inmate at




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 1       this facility saying that they think that they have

 2       scabies and it's not being addressed. I think that's

 3       a --


 4                       THE COURT: Is scabies like rabies?

 5                       UNIDENTIFIED SPEAKER: It's like a body

 6       lice.


 7                       MS. PATE; It's a skin itching.

 8                       THE COURT: All right. Does the State

 9       care to be heard?

10                        (End of requested excerpt from hearing.)

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 1 I I the undersigned, Shana Crawford,

 2 j official court reporter for the 20th Judicial

 3g District of the State of Tennessee, do hereby certify

 4] the foregoing is a true accurate and complete

 5| transcript to the best of my knowledge and ability of

 6 | the proceedings had and evidence introduced in the

 7 | captioned cause.

                  I further certify that I am neither attorney

 9| ' for, nor related to the parties to this cause and

10 S furthermore that I am not a relative of any attorney

11 I or counsel of the parties hereto or financially

12 I interested in the action.

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19 | Shana Crawford, LCR

20 j Official Court Reporter

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